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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION


    HM FLORIDA-ORL, LLC,

                          Plaintiff,

    v.                                                         Case No: 6:23-cv-950-GAP-LHP

    MELANIE GRIFFIN,

                          Defendant




                                                 ORDER
           This cause is before the Court for consideration without oral argument on

    Defendant’s Motion for Partial Stay (Doc. 33) and Plaintiff’s Response in Opposition

    thereto (Doc. 36).

           I.      Background

           Florida Governor Ron DeSantis signed Senate Bill 1438 (the “Act”) into law

    on May 17, 2023. See 2023 Fla. Laws ch. 2023-94. The Act created a new statute 1—

    Fla. Stat. § 827.11—prohibiting any person from knowingly admitting a child to an

    “adult live performance.” Plaintiff HM Florida-ORL, LLC (“Plaintiff”), which




           1  The Act also amended three existing laws. See 2023 Fla. Laws ch. 2023-94; see also Fla.
    Stat. §§ 255.70(1)-(3), 509.26(10), and 561.29(1).
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    frequently presents drag show performances at its Hamburger Mary’s Restaurant

    and Bar in Orlando, brought suit under 42 U.S.C. § 1983, alleging that the Act “seeks

    to explicitly restrict, or chill speech and expression protected by the First

    Amendment based on its content, its message, and its messenger.” Doc. 1, ¶ 50.

          On June 24, 2023, the Court entered its Amended Order granting Plaintiff’s

    Motion for Preliminary Injunction, finding it likely that the Act could not survive

    strict scrutiny because it did not employ sufficient narrowly tailored means to

    further the state’s compelling interest in protecting minors from obscene

    performances. Doc. 30 at 16-20. The Court also found it likely that the language of

    the Act, which included terms like “lewd conduct” and “lewd exposure of

    prosthetic or imitation genitals or breasts,” was unconstitutionally vague and

    overbroad on its face. Id. at 20-24; see also Fla. Stat. § 827.11(1)(a). In its Order, the

    Court enjoined Defendant Melanie Griffin (“Defendant”), “in her official capacity

    as Secretary of the Florida Department of Business and Professional Regulation

    [(“DBPR”)]…from instituting, maintaining, or prosecuting any enforcement

    proceedings under the Act.” Doc. 30 at 25. In other words, the Court temporarily

    enjoined Defendant’s enforcement of a facially unconstitutional statute. Id.

          By her motion, Defendant seeks to neuter the Court’s injunction, restricting

    her enforcement only as to Plaintiff and leaving every other Floridian exposed to

    the chilling effect of this facially unconstitutional statute. See Doc. 33 at 1.


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           II.     Legal Standard

           The Court may stay an injunction pending appeal to secure the opposing

    party’s rights. Fed R. Civ. P. 62(d). 2 “In the case of a non-money judgment, whether

    a stay is warranted under Rule 62(d) depends upon: (1) whether the stay applicant

    has made a strong showing that [it] is likely to succeed on the merits; (2) whether

    the applicant will be irreparably injured absent a stay; (3) whether the issuance of a

    stay will substantially injure the other parties interested in the proceeding; and (4)

    where the public interest lies.” Venus Lines Agency v. CVG Industria Venezolana de

    Aluminio, C.A., 210 F.3d 1309, 1313-14 (11th Cir. 2000) (internal quotations omitted).

    “Considering that this test is so similar to that applied when considering a

    preliminary injunction, courts rarely stay a preliminary injunction pending appeal.”

    Honeyfund.com, Inc. v. DeSantis, No. 4:22-cv-227-MW/MAF, 2022 WL 3486962, at *15

    (N.D. Fla. 2022).

           III.    Analysis

           A. Likelihood of Success 3




           2 Appellate procedural rules ordinarily require parties to move for a stay in the district
    court before doing so in the appellate court. Fed. R. App. P. 8(a)(1).
           3  The Court notes at the outset that there is scant precedent addressing Defendant’s
    argument seeking to limit the injunction only to her enforcement against the Plaintiff. The body
    of case law cited by Defendant primarily analyzes the appropriate scope of injunctive relief in the
    distinct contexts of nationwide injunctions, see, e.g., Monsanto Co. v. Geertson Seed Farms, 561 U.S.
    139, 166 (2010), and those affecting private parties which do not involve facially unconstitutional
    violations of the First Amendment, see, e.g., Grupo Mexicano de Desarrollo S.A. v. Alliance Bond

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           First, the Court considers whether Defendant “has made a strong showing

    that [she] is likely to succeed on the merits” of her motion to stay the injunction as

    to non-parties. Venus Lines Agency, 210 F.3d at 1313. Injunctive relief is generally

    restricted to the “extent necessary to protect the interests of the parties” and

    “limited to the inadequacy that produced the injury in fact that the plaintiff has

    established.” Georgia v. President of the United States, 46 F.4th 1283, 1303 (11th Cir.

    2022) (quoting Kenner v. Convergys Corp., 342 F.3d 1264, 1269 (11th Cir. 2003) and

    Gill v. Whitford, 138 S.Ct. 1916, 1931 (2018)). “The scope of injunctive relief is dictated

    by the extent of the violation established.” Georgia, 46 F.4th at 1306 (quoting Califano

    v. Yamasaki, 442 U.S. 682, 702 (1979)).

           The Court has found that the Act likely “imposes a direct restriction on

    protected First Amendment activity, and where the defect in the statute is that the

    means chosen to accomplish the State's objectives are too imprecise, so that in all its

    applications the statute creates an unnecessary risk of chilling free speech, the

    statute is properly subject to facial attack.” Secretary of State of Md. v. Joseph H.

    Munson Co., Inc., 467 U.S. 947, 967-68 (1984). A statute subject to facial attack is

    likewise susceptible to facial enjoinment. See Califano, 442 U.S. at 702. This is

    especially so in the First Amendment overbreadth context because plaintiffs “are




    Fund, Inc., 527 U.S. 308, 318 (1999).


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    permitted to challenge a statute not [only] because their own rights of free

    expression are violated, but because…the statute's very existence may cause others

    not before the court to refrain from constitutionally protected speech or

    expression.” Broadrick v. Oklahoma, 413 U.S. 601, 612 (1973).

           Defendant argues that the Court does not have the authority to protect the

    constitutional rights of non-parties to this suit. Doc. 33 at 2. Apart from a

    distinguishable unpublished decision, however, she does not point to any

    precedent where a court has restricted a preliminary injunction of such a broadly

    applicable, facially invalid restriction on First Amendment speech to only the

    plaintiff(s). See id. at 3-6. This Act, unlike those in most of the cases cited by

    Defendant, has not merely been adjudged likely unconstitutional in a limited range

    of applications, and therefore capable of mitigation. See, e.g., Secretary of State of Md.,

    467 U.S. at 964-65. Rather, it was found likely to be unconstitutional on its face. See

    Doc. 30 at 15-16.

           Plaintiff is not the only party suffering injury as a result of the passage of the

    Act; it has a chilling effect on all members of society who fall within its reach.

    Therefore, enjoining Defendant’s enforcement of the statute against any party is the

    appropriate remedy. See Broadrick, 413 U.S. at 613 (“The consequence of our

    departure from traditional rules of standing in the First Amendment area is that any

    enforcement of a statute thus placed at issue is totally forbidden until and unless a limiting


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    construction or partial invalidation so narrows it as to remove the seeming threat

    or deterrence to constitutionally protected expression.”) (emphasis added).

          In support of her argument to the contrary, Defendant contends that the

    Eleventh Circuit is “both weary and wary” of “universal” injunctions but cites

    primarily to cases invalidating nationwide injunctions on limited classes of persons.

    See Doc. 33 at 3; see also, e.g., Georgia, 46 F.4th at 1307-08. As the Court has previously

    explained, its injunction is neither nationwide, nor does it pertain only to a limited

    class of individuals. See Doc. 30 at 25. Defendant’s citations to dicta in cases where

    the Eleventh Circuit discussed various district courts’ perceived abuses of

    nationwide injunctions are simply inapposite. See, e.g., Doc. 33 at 3 (citing Georgia,

    46 F.4th at 1303 (focusing on the scope of the federal Procurement Act and how it

    pertained to a limited class of federal contractors) and U.S. v. National Treasury Emp.

    Union, 513 U.S. 454, 457 (1995) (analyzing a challenge to a federal ban on accepting

    compensation for public engagements brought by federal executive branch

    employees)). The parties and issues in the cases Defendant cites bear no

    resemblance to the instant dispute.

          Defendant also cites to Garcia et al v. Executive Dir., Fla. Comm’n on Ethics, No.

    23-10872, ECF No. 33 (11th Cir. June 5, 2023). However, Garcia is an unpublished

    decision and, as such, is not entitled to precedential effect. Ray v. McCullough Payne

    & Haan, LLC, 838 F.3d 1107, 1109 (11th Cir. 2016) (“In this Court, unpublished


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    decisions, with or without opinion, are not precedential and they bind no one.”)

    (citing 11th Cir. R. 36-2 and collecting cases). That proposition is especially acute in

    Garcia, which contains no substantive analysis. 4 Garcia, slip op. at 1. Not only is

    Garcia unentitled to precedential effect, but it, too, deals only with a limited universe

    of potential plaintiffs: public officers. Id. The district court in that case had already

    adjudged some plaintiffs to have standing while others did not, further

    distinguishing the instant matter. Id. Although Garcia involved a First Amendment

    challenge based on overbreadth, the ban on lobbying by elected officials does not

    impact the vast majority of Floridians. See Complaint for Preliminary and

    Permanent Injunctions and Declaratory Judgment at 2, Garcia et al v. Stillman et al,

    No. 1:22-cv-24156-BB (S.D. Fla. December 21, 2022).

           The Act here is not cabined to a limited, discrete class of people like the public

    officials in Garcia, or the federal contractors in Georgia. See id.; Georgia, 46 F.4th at

    1289. To limit Defendant’s enforcement of the Act only to Plaintiff would subject

    everyone else in Florida to the chilling effect of a facially unconstitutional statute.

    Consequently, a statewide injunction which includes non-parties accords with “the




           4  Like its own opinion, one of the two cases relied upon by the Eleventh Circuit contains
    no analysis whatsoever from which this Court might extract any substantive guidance. See Garcia,
    slip op. at 1 (citing Wolf v. Cook Cnty., Ill., 140 S.Ct. 681(2020)).


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    extent of the violation established.” See Georgia, 46 F.4th at 1303. Thus, Defendant is

    not likely to succeed on the merits of her Motion for Partial Stay.

           B. Remaining Factors

                   1. Irreparable Injury

           The other factors also weigh against Defendant’s motion. First, Defendant has

    presented no evidence or compelling argument that she will suffer irreparable

    harm. See Doc. 33 at 6. Instead, she baldly proclaims that Florida “suffers a form of

    irreparable injury” any time it is enjoined from enforcing one of its statutes. See id.

    (quoting Maryland v. King, 567 U.S. 1301, 1303 (2012)) (emphasis added). In

    Maryland, however, the Supreme Court’s statement was supported by evidence of

    ongoing, concrete harm to law enforcement and public safety. 5 567 U.S. at 1303.

    Defendant has presented no such support here. See Doc. 33 at 6. Her position that

    the state suffers irreparable harm any time it is enjoined from enforcing one of its

    statutes defies common sense and is not supported by any meaningful precedent.

    Cf. Ex Parte Young, 209 U.S. 123, 155-56 (1908) (“[I]ndividuals who, as officers of the




           5  The original quotation comes from a case approving the stay of an injunction which
    enjoined enforcement of a California law requiring auto dealers to give notice to their
    competitors when relocating or building new dealerships on Fourteenth Amendment due process
    grounds. New Motor Vehicle Bd. of California v. Orrin W. Fox. Co., 434 U.S. 1345, 1347-48 (1977). The
    quotation lies at the end of a paragraph describing the ongoing and concrete harm California
    suffered from being prohibited from regulating new auto dealerships, and is qualified by the
    opening clause omitted from Defendant’s citation: “It seems to me that…” Id. at 1351. Again, this
    case is inapposite here.


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    state, are clothed with some duty in regard to the enforcement of the laws of the

    state, and who threaten…to enforce against parties affected an unconstitutional

    act…may be enjoined by a Federal court of equity from such action.”); see also Green

    v. Mansour, 474 U.S. 64, 68 (1985) (“Young also held that the Eleventh Amendment

    does not prevent federal courts from granting prospective injunctive relief to

    prevent continuing violation of federal law.”).

                 2. Balance of Harms

          The balance of harms weighs heavily in favor of protecting Floridians from

    this unconstitutional statute. On one hand, for the other interested parties—i.e., all

    Floridians—“[t]here is a potential for extraordinary harm and a serious chill upon

    protected speech.” Ashcroft v. American Civil Liberties Union, 542 U.S. 656, 671 (2004).

    Indeed, “[t]he loss of First Amendment freedoms, for even minimal periods of time,

    unquestionably constitutes irreparably injury.” Elrod v. Burns, 427 U.S. 347, 373

    (1976).

          Conversely, the harm to Defendant if her motion is denied is minimal. She

    complains that the “portion of the injunction that applies to nonparties threatens

    Florida,” but constitutionally valid statutes already exist to further the state’s

    compelling interest in protecting minors from exposure to obscene exhibitions. See

    Doc. 33 at 2; see also Ashcroft, 542 U.S. at 670-71 (“[I]f the injunction is upheld, the

    Government in the interim can enforce obscenity laws already on the books.”). For


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    instance, Fla. Stat. § 847.013 prohibits the exposure of minors to obscene “motion

    pictures, exhibitions, shows, presentations, or representations.”

          Moreover, inconsistencies between the Act and statutes like Fla. Stat. §

    847.013(3)(c)—which allows minors to view films that include obscene content with

    parental consent—further undercut Defendant’s cries of harm. See also Fla. Stat. §

    1014 et seq (the “Parents’ Bill of Rights,” which reserves the right of parents to direct

    the moral upbringing of their children). She slyly argues that any potential parties

    experiencing a chill “have the tools” to challenge the statute in their own right, yet

    the Supreme Court has long recognized that, “[w]here a prosecution is a likely

    possibility…speakers may self-censor rather than risk the perils of trial.” Ashcroft,

    542 U.S. at 670-71; see also Broadrick, 413 U.S. at 612. Defendant’s suggestion that any

    other harmed parties should bear the cost and delay of litigating their free speech

    rights simply does not comport with First Amendment principles. All of these

    harms weigh heavily in favor of protecting non-parties from enforcement of this

    unconstitutional statute.

                 3. Public Interest

          Protecting the right to freedom of speech is the epitome of acting in the public

    interest. It is no accident that this freedom is enshrined in the First Amendment.

    This injunction protects Plaintiff’s interests, but because the statute is facially

    unconstitutional, the injunction necessarily must extend to protect all Floridians.


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    “ ‘[T]he line between speech unconditionally guaranteed and speech which may

    legitimately be regulated, suppressed, or punished is finely drawn.’ Error in

    marking that line exacts an extraordinary cost.” United States v. Playboy Ent. Grp.,

    Inc., 529 U.S. 803, 817 (2000) (quoting Speiser v. Randall, 357 U.S. 513, 525 (1958)).

    Any prejudice suffered by Defendant here is de minimis and does not warrant

    risking the dangerous exposure of the public’s interest in free speech to that

    “extraordinary cost.” See id. Therefore, the public interest is best served by

    preserving this Court’s injunction enjoining Defendant’s enforcement of the Act

    against any party.

          IV.    Conclusion

          Accordingly, it is ORDERED that Defendant’s motion for partial stay is

    hereby DENIED.

          DONE and ORDERED in Orlando, Florida on July 19, 2023.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties


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